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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §             Case No: 2:16-cv-602-JRG
                                    §
      v.                            §
                                    §
WATER PIK, INC.                     §
                                    §
      Defendant.                    §
___________________________________ §

                    ORDER OF DISMISSAL WITHOUT PREJUDICE

       Having considered the Joint Motion to Dismiss Without Prejudice (Dkt. No. 13) filed by

Plaintiff Symbology Innovations, LLC and Defendant Water Pik, Inc., the Court finds that the

Motion should be and hereby is GRANTED. It is therefore ORDERED that Plaintiff’s claims

against Defendant Water Pik, Inc. and Defendant’s counterclaims against Plaintiff Symbology

Innovations, LLC are hereby dismissed without prejudice, with each party to bear its own fees

and costs.


    So Ordered this
    Jan 23, 2017
